Case 2:03-cV-02714-.]DB-tmp Document 58 Filed 08/15/05 Page 1 of 2 Page|D 48

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FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG IS PH 3= 22
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Plaintiff,
"' No. 03-2714-B/P

BAPTIST MEMORIAL HOSPITAL
d/b/ a BAP'I`IST MEMORIAL
HOSPITAL - COLLIERVILLE,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Objections to Plaintiff’s Disclosure of Exhibits filed on
August 12, 2005.

Defendant’s objections are referred to the United States Magistrate Judge for
determination Any objections to the magistrate judge’s order shall be made within ten (10) days
after service of the order, setting forth particularly those portions of the order ohjected to and
the reasons for the objections. Failure to timely assign as error a defect in the magistrate
judge’s order will constitute a waiver of that objection § Rule 72(a), Federal Rules of Civil
Procedure.

/ o
IT Is so 0R1)ERED this id day of Augusr, 2005.

/

J. DANIEL BREEN
NI'I` D STATES DISTRICT JUDGE

This document entered on the docket sheet in compiiarice
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Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CV-027l4 was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

